Case 01-01139-AMC Doc 12793-2 Filed 07/13/06 Page 1of7

» 123 East Broad Street
l ' Souderton, PA 18964-0120
p" (215) 721-2720

Notifications

BILL TO

Scott Baena

Bilzin Sumberg Dunn Baena Price & Axelro
First Union Financial Center, Suite 2501
Miami, Florida 33131

Invoice

DATE

INVOICE #

6/1/2006

44206

P.O, NO.

TERMS

PROJECT

8, Buena

Due on receipt

W. RR. Grace Bankru..,.

ITEM QUANTITY SERVICED

DESCRIPTION

RATE

AMOUNT

oe

TH 2.1 | 10/44/2004

BC 2) 10/14/2004

TH 2.2] 10/15/2004

Staff time and out of pocket expenses in
connection with notice planning, re: Zonolite
Attic {nsulation.

Correspondence with counsel, re:
background on notice planning request for
Zonolite notice campaign; calls with staff, re:
notice planning; review with staff the notice
recommendations and strategies during the
voluntary campaign sought In Washington
State; study Bankruptcy notice planning
issues and recommendations during stages
when Bar Date was sought by debtor and

debter's notice expert (Kinsella) positions, re:

lack of notice for Zonolite.

Discuss overview of assignment with staff;
study previous Zonollte Notice Plan for
Washington and ZAI recommendation within
the W.R. Grace Bankruptcy Notice Plan for
situation and target audience background.
Calis with staff on planning issues; review
objactives and media options; study
preliminary data on target and media costs
for certain audianca levels.

350.00

275.00

350.00

735.00

550.00

770.00

Fed Tax ID 23-27B5427
Thank You.

Total

Page 1

Case 01-01139-AMC Doc 12793-2 Filed 07/13/06 Page 2 of7

» 123 East Broad Street
| I Souderton, PA 18964-0120
j *. (278) 72-2120

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6.25

10/15/2004

10/18/2004

40/18/2004

Research and outline details and costs from
Hilsoft's recommendation vs. Debtors
expert's proposal, as well as summary of
final, approved W.R. Grace PD Plan in order
to provide staff and client with appropriate
situation analysis for planning for possible
future Zonolite notices; discuss media
strategles and options with staff; estimate
effective TY GRP levels and daypart mixes;
investigate and estimate costs for national
broadcast and cable TV and various targeted
consumer magazines, based on the Zonolite
target audience.

Draft and edit notice planning outline; meet
with staff to study cost data and audlence
coverage options; study reach and positions
on notice in prior submissions.

Meet with staff to discuss media strategles,
tactics and estimated costs of candidate
options; raview reach and frequency levels of
various TV daypart mixes, GRP levels, and
consumer magazine mixes to determine
most effactive and efficient avenue; develop
schedule of notice “flights” to calculate total
costs; draft proposal summary for cilent.

275.00

350.00

275.00

1,237.50

1,680.00

1,718.75

Thank You.

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Total

Page 2

Case 01-01139-AMC Doc 12793-2 Filed 07/13/06 Page 3of7

» 129 East Broad Street
| I Souderton, PA 18964-0720
pM (215) 727-2120

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Miami, Florida 33131

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W. R. Grace Bankou...

ITEM

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70/18/2004

10/25/2004

10/25/2004

Research and analyze the demographics of
Zonolite class members to define targets;
research and analyze leading publications,
television programs, and cable networks
among the Zonolite targets; create plan
options for the faunch and follow-up waves of
activity; calculate the reach and estimated
cost of the jaunch and follow-up waves of
activity for both the print and television and
thelr combined efforts; write tne target
analysis and plan option summaries for the
planning memo; research trade magazines
and associations reaching contractors who
perform asbestos abatement -estimate thelr
cost; summarize the earned media activity
{press release, prepared news article, radio
PSA) and calculate the cost of the affort;
proof and edit the planning memo.

Study deposition documents from the W.R.
Grace Bankruptcy proceedings to determine
the primary geographic target areas in U.S.
and Canada for ZAI; meet with staff, re:
nationa! media costs vs. regional costs.
Review background data on Zonolite and
WR Grace for geographic data associated
with the Zonolite product; research the Adult
18+ population of the key geographic states
and calculate the percentage of the total U.S.
population; request proposals from the
media representatives for both national and
regional editions to determine which
purchasing method yields the lowest
out-of-pocket cost; review WR Grace
Canadian recommendations.

250.00

279.00

250,00

2,075.00

343.75

825.00

Thank You.

Fed Tax ID XX-XXXXXXX

Total

Page 3

Case 01-01139-AMC Doc 12793-2 Filed 07/13/06 Page4of7

» 124 East Broad Street
| I Souderton, PA 18964-0720
Pm (218) 721-2120

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First Union Financial Center, Sulte 2504
Miami, Florida 33134

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TERMS

PROJECT

§, Baena

Due on receipt W.

R. Grace Bankru...

ITEM

QUANTITY

SERVICED

DESCRIPTION

RATE

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BC

Gl

BC

Gl

3.75

5.7

3.25

3.2

10/26/2004

40/26/2004

10/27/2004

10/27/2004

Meet with staff to review findings from
geographic research, including target states
and DMA's in US and target Provinces and
markets In Canada; Investigate cast for TV
schedules In all target US DMA's and
compare to national TV costs; draft summary
af TV cost comparison to set media
strategies.

Staff meeting to discuss television planning
strategies; contact U.S. and Canadian
media representatives to request proposals;
research Canadian adult population;
research Canadian newspaper audiences;
rasearch the leading Canadian publications
among Adults 35+ and homeowners; review
newspaper proposals and Input data into a
Canadian Media Planning analysis,
Investigate cost difference between national
and regional television advertising In Canada
to determine the most cost efficiant direction;
estimate cost for effective national TV
schedule in Canada against Adults 35+;
meat with staff, re: media costs and revisions
to media recommendation based on
geographic target findings.

Review publication proposals; input
publication details into the Media Planning
Analyses; staff meeting to discuss strategies
and timing; contact media representatives to
request missing information.

275,00

250.00

275.00

250.00

4,031.25

1,425.00

893.75

800.00

Thank You.

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Total

Page 4

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, 123 East Broad Street | nvoice
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Pr (215) 721-2120 DATE INVOICE #
Notifications
6/1/2006 44206
BILL TO
Scott Baena
Bilzin Sumberg Dunn Baena Price & Axelro
First Union Financial Center, Sutte 2501
Miami, Florida 33131
P.O. NO. TERMS PROJECT
5. Baena Due on receipt W. R. Grace Bankru...
ITEM QUANTITY SERVICED DESCRIPTION RATE AMOUNT
TH 3.7 | 10/27/2004 Study geographics; meet with staff regarding 350.00 1,085.00
geographics for Canada and U.S.; study
information provided by debtor and debtor's
notice expert in witness discovery during the
W.R. Grace bar date notice procass; study
population statistics.
BC 3.25 | 10/28/2004 Contact Canadian television representatives 275.00 893.75
to request and discuss avails, rates,
audience numbers, etc. for 1st Quarter 2005;
edit media write-up for client, to address the
geographic concentration In US and how the
madia recommendation would be affected,
and add data for inclusion of Canada In the
notice effort.
Fed Tax ID XX-XXXXXXX
Thank You. Total

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W. R. Grace Benkru...

ITEM QUANTITY SERVICED

DESCRIPTION

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7,5 | 10/29/2004

2.33333 | 10/29/2004

Review US publication proposals resulting
from further negotiations and 30-state buy
options; determine which publications can
deliver geographical coverage desired at
lower cost than national buy; edit US
magazine plans for the launch schedule and
"waves," to reflect lower costs and regional
costs where appropriate; generate analysis
for Canadian TV, comparing out-of-pocket
costs, target audience ratings, and
efficiencies among the various networks and
programs; study the various TV schedule
options for Canada and compare GRP levels
and costs to determine most effective
program and network selections; review
proposals from Canadian newspapers and
magazines; meet with staff to provide
direction for updating these schedules and
estimates; determine most practicable and
effactive frequency of insertions for Canadian
print; combine the recommended Canadian
TV, magazine and newspaper schedules to
determine total cost for the launch and
follow-up “waves;" edit media write-up.

Look up newspaper and periodical rates;
contact media representative regarding
Canadian rate; enter information Into
Canadian media plan; determine TV
broadcast states for specified markets.

275.00

95.00

2,062.50

221.67

Fed Tax ID XX-XXXXXXX

Thank You.

Total

Page 6

Case 01-01139-AMC Doc 12793-2 Filed 07/13/06 Page 7 of 7

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6/1/2008 44206
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First Union Financial Center, Suite 2501
Miami, Florida 33131
P.O, NO. TERMS PROJECT
5, Buena Due on receipt W. R. Grace Bankru...
ITEM QUANTITY | SERVICED DESCRIPTION RATE AMOUNT
BC 3.5] 11/1/2004 Determine daypart mix for recommended US 275.00 962.50
and Canada television schedules and review
the resulting A35+ reach estimates; research
population figures for major metros in
Southern Canada; meet with staff to discuss
schedules for any follow-up waves in
Canada, and revise the schedules to reflect
change in number of newspaper and
magazine Insertions to maximize reach and
efficiencies; estimate new costs for launch
and "waves;” edit media write-up for client;
summarize costs, etc. for staff.
Gl 2.4] 11/1/2004 Staff meeting to discuss Ganadian activity 250,00 600.00
lavels; estimate the reach for Canada to
determine the adequacy of the
recommended launch and waves of activity;
edit and proof the campaign planning memo.
TH 1.8 | 11/4/2004 Study geographies and cost and reach 350.00 630.00
calculations: meet with staff and study
revised write-up of outline of notice plan for
Zonollte.
Gl 1.6] 11/2/2004 Write and send an email summarizing the 250.00 400.00
planning memo; revise the media planning
analysis to reflect quoted rates
4/23/2004 Phone call on 04/13/04. 1.08 1.08
COPY 17 Photocoples of Documents through 0.04 0.68
41/05/04.
tel Phone calls from 10/26/04 te 17/05/04 14.18 14.18
Fed Tax ID XX-XXXXXXX
Thank You. Total $20,956.36

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